

Matter of Applebaum (2019 NY Slip Op 08768)





Matter of Applebaum


2019 NY Slip Op 08768


Decided on December 5, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 5, 2019

PM-224-19

[*1]In the Matter of Joel David Applebaum, an Attorney. (Attorney Registration No. 5165345.)

Calendar Date: December 2, 2019

Before: Egan Jr., J.P., Lynch, Pritzker, Reynolds Fitzgerald and Colangelo, JJ.


Joel David Applebaum, Birmingham, Michigan, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Joel David Applebaum was admitted to practice by this Court in 2013 and lists a business address in Birmingham, Michigan with the Office of Court Administration. Applebaum now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Applebaum's application.
Upon reading Applebaum's affidavit sworn to September 23, 2019 and filed September 27, 2019, and upon reading the November 19, 2019 correspondence in response by the Chief Attorney for AGC, and having determined that Applebaum is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.Egan Jr., J.P., Lynch, Pritzker, Reynolds Fitzgerald and Colangelo, JJ.,
concur.
ORDERED that Joel David Applebaum's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is furtherORDERED that Joel David Applebaum's name is hereby stricken from
the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is furtherORDERED that Joel David Applebaum
is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Applebaum is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is furtherORDERED that Joel David Applebaum
shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








